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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY
                                (Newark Division)


REV. KEVIN ROBINSON and                  )
                                         )
RABBI YISRAEL A. KNOPFLER,               )
                                         )
                         Plaintiffs,     )          Case No. 2:20-CV-5420-CCC-ESK
               v.                        )
                                         )
PHILIP D. MURPHY, Governor of the        )
State of New Jersey, in his              )
official capacity, and                   )
                                         )
COLONEL PATRICK J. CALLAHAN, )
Superintendent of State Police and State )
Director of Emergency Management,        )
in his official capacities,              )
                                         )
                         Defendants.     )


                         FIRST AMENDED COMPLAINT
              FOR CIVIL RIGHTS VIOLATIONS, INJUNCTIVE RELIEF
                      AND A DECLARATORY JUDGMENT

       Plaintiffs, by and through their counsel, complain as follows:

                                      INTRODUCTION

       1.     This civil rights action was originally brought as a challenge solely to Executive

Order 107 (2020), effective March 21, 2020 (“Order 107”), issued by defendant Governor Phil

Murphy as a response to the COVID-19 epidemic pursuant to his purported “emergency powers”

under the New Jersey Civil Defense and Disaster Control Act (“DCA”).

       2.     Order 107 (a) orders the entire population of New Jersey to stay home, allowing

excursions only for the nine reasons Defendant deems permissible; (b) orders the closure of all

“brick-and-mortar premises of non-essential retail businesses” and (c) declares that all
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“Gatherings of individuals…”, including religious gatherings, “are cancelled, unless otherwise

authorized by any part of this order.” Order 107, ¶¶ 5 and 6.

       3.      This Amended Complaint, by a Catholic priest, now joined by an Orthodox

Rabbi, expands the original challenge to Defendant’s plainly unconstitutional regime to include

an administrative order, AO 2020-4, issued by the Superintendent of the New Jersey State Police

in his capacity as State Director of Emergency Management on the same date as Order 107.

       4.      Defendants’ position is that AO 2020-4 broadly permits “gatherings of

individuals” so long as they are ten or less in number. But that is not the case.

       5.      AO 2020-4 merely advises law enforcement officials, not the general public, as

follows: “Pursuant to paragraph 5 of Executive Order No. 107 (2020), it is hereby clarified that

gatherings of 10 persons or fewer are presumed to be in compliance with the terms and intentions

of the Executive Order, unless clear evidence exists to the contrary.” (emphasis added)

       6.      AO 2020-4 is on its face an unconstitutionally vague standard for law

enforcement that fails to give adequate notice to the public, or even definite guidance to law

enforcement, of which “gatherings” of ten-or-less violate the “presumption” of lawfulness

because of “clear evidence… to the contrary.”

       7.      As pleaded below, AO 2020-4 is at variance with the defendant Murphy’s

repeated advice to the public that all gatherings of any size are prohibited, including religious

services of any kind, and that all “gatherings of people” may be reported to him, via a

government-maintained informant website, as violations of Order 107.

       8.      Now that this action has been commenced, however, defendant Murphy advises

through council that he will “correct” his prior advice to the public, although it is not clear

whether there will be a further executive order embodying AO 2020-4’s impermissibly vague



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“presumption” of a lawful gathering of ten or less “unless” a law enforcement officer, in his

unfettered discretion, believes that “clear evidence exists to the contrary.”

       9.      Order 107, even as purportedly modified by AO 2020-4, is not a neutral and

generally applicable restriction of constitutional rights on the grounds of a public health

emergency but rather a self-defeating hodgepodge of prohibitions and exceptions for regulating

normal social, political, religious and economic activity, the likes of which has never been seen

in the history of this State. Therefore, it cannot withstand the required strict scrutiny and narrow

tailoring of its scheme for selective suspension of the First and Fourteenth Amendments.

       10.     Plaintiffs now seek declaratory and injunctive relief against Order 107 and AO-

2020-4, which, both individually and taken together, both facially and as applied to them, violate

the First and Fourteenth Amendments to the United States Constitution.

                                             PARTIES

       11.     Plaintiff Father Kevin Robinson is a Catholic priest, ordained in 1991, who

engages in priestly ministry in a church located in this District.

       12.     Rabbi Yisrael A. Knopfler, ordained 20 years ago in Israel, is a rabbi of the

Orthodox Jewish tradition who presides over a synagogue and congregation located in this

District. He is a resident of the State of New Jersey.

       13.     Defendant Philip D. Murphy is Governor of the State of New Jersey and is sued in

his official capacity. At all times pertinent to this action Murphy and his subordinates have acted

under color of State law.

       14.     Defendant Colonel Patrick J. Callahan is Superintendent of State Police and

StateDirector of Emergency Management.           As such, Callahan is the final decision-maker




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respecting AO 2020-4, and is sued in his official capacity. At all times pertinent to this action,

Callahan and his subordinates have acted under color of State law.

                                  JURISDICTION AND VENUE

        15.    This action raises federal questions under the First and Fourteenth Amendments

of the United States Constitution and under federal law, 28 U.S.C. §§ 2201 and 2202

(Declaratory Judgments), as well as 42 U.S.C. §§ 1983, 1988, and 1920.

        16.    This Court has jurisdiction over these federal claims under 28 U.S.C. §§ 1331 and

1343.

        17.    This Court has authority to grant the requested injunctive relief under 28 U.S.C. §

1343(3), the requested declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202, and plaintiffs’

prayer for costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988 and 28 U.S.C. §

1920.

        18.    Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391, as a

substantial part of the events giving rise to the claims herein arose in this District.

                        ALLEGATIONS COMMON TO ALL COUNTS

        19.    This First Amended Complaint hereby incorporates by reference the

Supplemental Declaration of plaintiff Robinson, Exhibit A hereto, and the Declaration of

plaintiff Knopfler, Exhibit B hereto, as verification of the facts pertaining to their religious

beliefs, practices and experiences with Order 107 and AO 202-4.

                      Plaintiff Robinson’s Religious Beliefs and Practices

        20.    Plaintiff Rev. Kevin Robinson is a duly ordained Catholic priest, ordained in

1991, who offers Mass and provides the other Sacraments of the Catholic Church to his

congregation at Saint Anthony of Padua Church in North Caldwell, NJ.



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        21.     The Holy Sacrifice of the Mass is the very heart of Catholic worship without

which the Catholic faith would not exist.

        22.     Plaintiff Robinson offers two Masses on Sundays: a Low Mass, in which he is

assisted by two altar servers, and a High Mass which involves five altar servers.

        23.     The congregation at each Mass is approximately fifty people in addition to the

priest and the altar servers.

        24.     It is a Catholic teaching that one cannot receive Sacraments without being

physically present for their administration. Sacraments cannot operate by video link.

        25.     Forbidding Catholics to be physically present for worship in their church is a

serious deprivation of their exercise of the Catholic religion and a grave interference in plaintiff’s

religious ministry and priestly mission to his flock.

                                   Rabbi Knopfler’s Religious
                                     Beliefs and Practices

        26.     Plaintiff Knopfler is a rabbi of the Orthodox Jewish tradition. Ordained over 20

years ago in Israel, he presides over a synagogue located in Lakewood, NJ, Congregation

Premishlan.

        27.     Plaintiff’s Knopfler’s congregation numbers 45-50 practitioners of Orthodox

Judaism.

        28.     Plaintiff Knopfler also presides over the rabbinical court Beis Din Tzedek of

Lakewood, which has eleven members.

        29.     Plaintiff Knopfler’s synagogue accommodates 30 people at a time, to which he

ministers by holding two Davening services each Saturday, starting 35 minutes before sunrise

and then at 9:30 a.m.




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          30.    In addition, each day the synagogue hosts prayers during morning services,

usually around 8:30, a noon service, and a night service around 11 p.m.

          31.    The full panoply of synagogue prayers required by plaintiff Knopfler’s religion

must have a minimum quorum of ten, and several of the congregants, a few times a week, must

gather closely around the Torah for a reading from the Torah.

          32.    Members of the congregation also gather in plaintiff Knopfler’s synagogue to

pray and study the Torah and the Talmud together, especially young men.

          33.    These religious activities require physical presence in the synagogue and cannot

be conducted by video.

                                  Public Notification of Order 107
                                Banning “Gatherings of Individuals”

          34.    On March 21, 2020, Defendant issued Order 107 for the stated purpose of

“reducing the rate of community spread of COVID-19.” (Order 107 at 1)1/

          35.    Order 107 invokes Defendant’s “emergency powers,” citing the New Jersey

Civilian Defense and Disaster Control Act (DCA) to justify its provisions. (Order 107 at 4)

          36.     Order 107 supersedes the “operative provisions” of prior Executive Order 1042/

(2020) (“Order 104”), issued March 16, 2020, but retains its “factual findings.” (Order 107, ¶ 1).

          37.    Order 104 permitted “gatherings of persons in the State of New Jersey” under the

following terms:

          All gatherings of persons in the State of New Jersey shall be limited to 50 persons
          or fewer, excluding normal operations at airports, bus and train stations, medical
          facilities, office environments, factories, assemblages for the purpose of industrial
          or manufacturing work, construction sites, mass transit, or the purchase of
          groceries or consumer goods.



1
    /See, https://nj.gov/infobank/eo/056murphy/pdf/EO-107.pdf
2
    /See, https://nj.gov/infobank/eo/056murphy/pdf/EO-104.pdf
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       38.     Order 107 eliminates the allowance of gatherings of “50 persons or fewer,” and

declares that “All New Jersey residents shall remain home or at their place of residence” with

the following nine exceptions (in pertinent part):

       1. obtaining goods or services from essential retail businesses…;
       2. obtaining takeout food or beverages…;
       3. seeking medical attention, essential social services, or assistance from law
          enforcement or emergency services;
       4. visiting family or other individuals with whom the resident has a close personal
          relationship…;
       5. reporting to, or performing, their job;
       6. walking, running, operating a wheelchair, or engaging in outdoor activities with
          immediate family members, caretakers, household members, or romantic partners
          while following best social distancing practices with other individuals, including
          staying six feet apart;
       7. leaving the home for an educational, religious, or political reason;
       8. leaving because of a reasonable fear for his or her health or safety; or
       9. leaving at the direction of law enforcement or other government agency.

Order 107 at ¶ 2.

       39.     Order 107 provides that “Gatherings of individuals, such as parties, celebrations,

or other social events, are cancelled, unless otherwise authorized by any part of this Order.”

(Order 107, ¶ 5)

       40.     The term “gatherings of individuals” is not defined.

       41.     On its face, Order 107 appears to prohibit all “gatherings of individuals,”

including religious gatherings, anywhere in the State of New Jersey, whether they take place in a

church, chapel, or synagogue, indoors or outdoors.

       42.     Order 107 provides that violators of the Order, and those who aid or abet them,

are subject to arrest and criminal prosecution for “disorderly conduct” under N.J.S.A. App. A: 9-

49 and 50, the criminal penalty provisions of the DCA.


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                        Order 107’s Unconstitutional Double Standard
                          on “Gatherings” and “Social Distancing”

       43.      While forbidding all undefined “gatherings of individuals,” Order 107 permits

large gatherings of people to patronize or work in what Defendant deems “essential retail

businesses,” defined as follows:

       a. Grocery stores, farmer’s markets and farms that sell directly to customers, and other
          food stores, including retailers that offer a varied assortment of foods comparable to
          what exists at a grocery store;

       b. Pharmacies and alternative treatment centers that dispense medicinal marijuana;

       c. Medical supply stores;

       d. Retail functions of gas stations;

       e. Convenience stores;

       f. Ancillary stores within healthcare facilities;

       g. Hardware and home improvement stores;

       h. Retail functions of banks and other financial institutions;

       i. Retail functions of laundromats and dry-cleaning services;

       j. Stores that principally sell supplies for children under five years old;

       k. Pet stores;

       l. Liquor stores;

       m. Car dealerships, but only to provide auto maintenance and repair services, and

             auto mechanics;

       n. Retail functions of printing and office supply shops; and

       o. Retail functions of mail and delivery stores.

See, Order 107, ¶ 6.




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       44.     Order 107 imposes no size limitation on gatherings related to “essential retail

businesses,” save that imposed by later Executive Order 122 (“Order 122”): a limitation to 50

percent of the building’s capacity at any one time and special hours for high-risk individuals, but

only “wherever possible.” (Order 122, ¶ 1 a-b).

       45.     Order 122 further provides a “social distancing” protocol for “essential retail

businesses” of masks and gloves for employees, masks but not gloves for customers, sanitizing

common surfaces, and six feet of separation (where physical barriers are not “feasible”) except

“at the moment of payment and/or exchange of goods.” (Order 122, ¶¶ 1 b-k)

       46.     Thus Orders 107 and 122 combined allow for thousands if not millions of direct

physical contacts each day between large numbers of people in retail settings, with customers

touching innumerable common surfaces without gloves, including products on shelves, touch

pads, keypads, styluses for use on touch screens, as well as currency and coins.

       47.     Order 107 orders the immediate closure of all “non-essential retail businesses,”

but says nothing about non-retail businesses, including professional services; thus leaving all

non-retail businesses free to operate without mass gathering restrictions but only sanitization

requirements imposed on building owners. Order 107, ¶¶ 6 and 10; Order 122 at 2.

       48.     Order 107 imposes no size limitations on overall workforce size in either

“essential retail” businesses or even the permitted non-retail businesses. The Order provides

only that the favored businesses “must accommodate their workforce, wherever practicable, for

telework or work-from-home arrangements” in the judgment of business owners. (Order 107, ¶¶

10-11) (emphasis added)

       49.     As to workforce size, Order 107 merely prescribes for both “essential” retail

businesses and non-retail businesses “best efforts to reduce staff on site to the minimal number



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necessary to insure that essential operations can continue,” providing purely advisory examples

of employees who, in defendant Murphy’s judgment, “need to be physically present at their work

site in order to perform their duties…” (Order 107, ¶11)(emphasis added); see Order 122

(referencing Order 107’s precatory requirement of “best efforts to reduce staff on site…”).

       50.     Order 107 exempts the media from any staffing or mass gathering restrictions

whatsoever: “Nothing in this Order shall be construed to limit, prohibit, or restrict in any way the

operations of newspapers, television, radio, and other media services.” (Order 107, ¶

19)(emphasis added)

       51.     Order 107 fails to mention, and thus leaves untouched, Order 104’s allowance of

unlimited gatherings in “airports, bus and train stations” while Order 122 provides only for

various sanitization procedures for “high-touch areas” in those places. Order 122, ¶ 5.

       52.     Thus Order 107 allows for thousands if not millions of interpersonal contacts in

transportation hubs as well as contact with such things as seating, kiosks doorknobs, handrails,

restrooms and so forth.

       53.     Order 107 recites no medical or epidemiological evidence that would support the

claim that the risk of viral transmission from the forbidden “gatherings of individuals” or “non-

essential retail businesses” is any greater than it is with the permitted “essential retail

businesses,” non-retail businesses, airports, bus and train stations.

       54.     In forbidding undefined “gatherings of individuals” while allowing large numbers

of people to access the premises of the permitted businesses and transportation hubs, Order 107

on its face categorizes all First Amendment-protected social, political and religious gatherings as

“non-essential,” while favoring certain business activities as either “essential” or generally

allowable (non-retail businesses including law firms, accounting firms, banks, etc.).



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       55.     Order 107 thus denies persons who are together for a religious purpose the same

freedom of movement and assembly as persons who are together for business purposes.

       56.     Order 107’s distinctions between permitted “essential retail” and non-retail

business gatherings, versus the forbidden “non-essential” retail, social, political and religious

gatherings, constitutes a hodgepodge of arbitrary categories that has no rational relationship to

the stated goal of avoiding mass gatherings or maintaining “social distancing,” which is not

shown by Order 107 to be any more difficult in the forbidden categories than it is in the

permitted ones.

       57.     On the contrary, “social distancing” is clearly easier to maintain in discrete

religious gatherings held only at certain times in churches and synagogues than it is amidst the

vast and constant 24/7 hubbub of retail sales and office environments involving potentially

millions of people in the State of New Jersey.

       58.     In sum as a measure purporting to be rationally related to the goal of limiting the

spread of COVID-19, Order 107 and 122, taken together, provide no objective medical criteria or

coherent rationale for discriminating between gatherings related to essential retail businesses

(permitted), non-essential retail businesses (forbidden), non-retail businesses (permitted), and

social, political, and religious gatherings (all forbidden). Order 107’s scheme makes no sense and

is in many respects at war with its own stated purposes.

                            Defendant’s Explanation of His Ban
                    on “Gatherings” as Published on His Official Website

       59.     According to defendant Murphy’s official FAQ page, which provides information

to the general public on the Governor’s official interpretation of Order 107, the “gatherings of

individuals” forbidden by Defendant, in any number, include religious services:




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       Are churches and other houses of worship still offering services?:

       Executive Order No. 107… prohibits all gatherings of individuals, such as
       parties, celebrations, or other social events, unless otherwise authorized by the
       Order. Residents should consult with their local houses of worship to see what
       alternatives are being offered in place of in-person services. (emphasis added)3/

See, Exhibit C to this Complaint.

       60.     This information for the general public was published on March 23, 2020 and

remains the same as of May 3, 2020.

       61.     The same official FAQ page states that funerals and other memorial services are

also totally prohibited according to the same official interpretation:

       Are funerals and other memorial services allowed to be held right now?

       Funerals and other memorial services that involve in-person gatherings may not
       take place at this time.

       In an effort to strengthen the existing social distancing measures in place, the
       Governor has issued Executive Order No. 107 which prohibits all gatherings of
       individuals, such as parties, celebrations, or other social events, unless otherwise
       authorized by the Order.4/

See Exhibit D to this Complaint.

       62.     This information for the general public was likewise published on March 23, 2020

and remains the same as of May 3, 2020.

       63.     On April 11, 2020, defendant Murphy caused to be published on the official New

Jersey website a FAQ item as follows:

       How can I report a violation of an Executive Order?



3
 /See,https://covid19.nj.gov/faqs/nj-information/general-public/are-churches-and-other-houses-
of-worship-still -offering-services
4
 /See,https://covid19.nj.gov/faqs/nj-information/general-public/are-funerals-and-other-memorial-
services-allowed-to-be-held-right-now


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          You can report a possible violation of any Executive Order using this online form:
          https://covid19.nj.gov/violation.

          Some examples of Executive Order violations include:
         A non-essential business that is operating
         A non-essential construction project
         A business that is not practicing social distancing requirements
         A business that is not allowing remote work of non-essential employees
         A prohibited gathering of people [emphasis added]

          Compliance with Executive Orders is not voluntary. [emphasis in original]5/

See Exhibit E to this Complaint.

          64.     The official reply to this FAQ links to a web page for reporting alleged violations

of Order 107. One of the radio buttons for informing on one’s neighbor is labelled: “A gathering

of people” without further explanation.6/ See, Exhibit F to this Complaint.

                          The Impact of Order 107’s Ban on “Gatherings”
                           on Plaintiff Robinson’s Exercise of Religion 7/

          65.     Following the promulgation of Order 107 and its ban on “gatherings of

individuals,” all Catholic churches in New Jersey were shuttered and Masses and other

gatherings therein ceased.

          66.     On March 20, 2020, the day before Order 107 went into effect, a local police

officer arrived at plaintiff Robinson’s church and demanded that the Mass that was about to

begin be cancelled and that the congregation disperse, even though Order 107 was not effective

until the following day.



5
 / See, https://covid19.nj.gov/faqs/nj-information/general-public/how-can-i-report-a-violation-of-
an-executive-order.
6
    / See https://covid19.nj.gov/forms/violation
7
 / Cf. Exhibit A, Robinson Supp. Dec., for verification of the facts in this section of the Amended
Complaint.


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          67.   The officer was verbally aggressive, repeatedly stating that the Mass could not

proceed because of the Governor’s order, thus making it clear that plaintiff Robinson was subject

to arrest while the members of his congregation were cowering in the basement in fear.

          68.   Only when the officer was informed by the local Police Chief via cell phone that

Order 107 was not effective until the following day was his implicit threat of arrest withdrawn.

          69.   On Thursday, March 26, however, plaintiff Robinson was advised by the same

Police Chief via text message that charges would be laid if Order 107 were violated.

          70.   Plaintiff Robinson has since refrained from offering Mass for the faithful in his

Church or anywhere else in the State of New Jersey.

                           The Impact of Order 107’s Ban on “Gatherings”
                            on Plaintiff Knopfler’s Exercise of Religion 8/

          71.   Defendant Murphy’s Executive Order 107 has drastically interfered in the practice

of plaintiff Knopfler’s Orthodox Jewish religion in the following ways.

          72.   On or about March 22, in fear of police action because of Order 107’s ban on

“gatherings of individuals,” plaintiff Knopfler began holding his synagogue’s morning prayer

services in the backyard of the synagogue so that congregants could disperse if the police were

called.

          73.   Members of plaintiff Knopfler’s congregation stopped attending services in fear

of legal consequences from the Governor’s order because it bans “all gatherings of individuals,”

as plaintiff Knopfler confirmed by consulting the aforesaid FAQs on the Governor’s website,

which stated clearly there must no religious gatherings for worship, funerals, weddings or the

like.



8
 / Cf. Exhibit B, Knopfler Dec,. for verification of the facts in this section of the Amended
Complaint.
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          74.   On or about April 3, as the congregants were walking (it being the Sabbath) from

different directions to the synagogue, two police cars parked directly outside the synagogue.

          75.   The police cars had their overhead red and blue lights on to intimidate plaintiff

Knopfler and his congregants and to make it appear to the neighbors that a police intervention

was about to occur. The police were clearly surveilling the congregation to look for violations of

Order 107.

          76.   To avoid a confrontation with the police, plaintiff Knopfler and his congregation

avoided having the prayer service in the backyard, escaped through the back gate, and had the

prayer service elsewhere.

          77.   Because of this police interference, plaintiff Knopfler changed the times of the

Saturday morning prayer service, the main prayer service of the week, and the afternoon services

as well, as it appeared that the police had learned the regular times of those services from their

surveillance.

          78.   On or about April 13, plaintiff Knopfler and his congregation were holding

morning services in the backyard around 9:30 a.m. Approximately 20 congregants were present,

and the distance between each was about ten feet.

          79.   During the service, as required by the Jewish religion, four of the congregants

gathered around the Torah to read from it.

          80.   Suddenly, two police officers arrived and the congregants began running in all

directions. The two officers entered the backyard and walked around while talking on their

radios.

          81.   Plaintiff Knopfler demanded that the police officers leave the property because

they were trespassing, and one replied: “Well, this is an illegal gathering.”



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        82.    The same officer barked at the remaining congregants that they should not move

because he was coming back with tickets.

        83.    The officers then retreated to the street and were observed attempting to count

how many people had remained from the congregation.

        84.    The remaining congregants, nine in number, went into a back room of the

synagogue in fear of being arrested. They taped garbage bags on the windows and locked the

door.

        85.    Plaintiff Knopfler and the remnants of his congregation finished reading from the

Torah and finished the required prayers, while the young children were sent into the main

sanctuary to peek out from the now blacked out windows to let plaintiff Knopfler and his

congregation know when the police had left.

        86.    A third police officer, apparently a supervisor, arrived and knocked on plaintiff

Knopfler’s front door, opened the door, and stuck her head inside the house, terrifying plaintiff’s

12-year-old daughter.

        87.     After the three officers finally left, the remaining congregants also left, checking

their windshields for tickets.

        88.    A 45-year old-congregant, who had been hiding in the boiler room, emerged from

his hiding place quivering and quaking.

        89.    Plaintiff Knopfler and his congregation live in fear of another police intervention.

Members of the congregation are constantly looking toward the street for police cars, and some

hide inside the synagogue and come into the yard only for the most important parts of the

services.




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        90.     Plaintiff Knopfler and his congregation continue to hold the prayer services in the

backyard in order to be able to escape the police if and when there is another police disruption of

their “illegal gathering.”

        91.     Because of Order 107, plaintiff Knopfler has also suspended gatherings of the

Beis Din Tzedek of Lakewood rabbinical court, whose gatherings have sometimes included up to

twenty people, including the parties, the secular and rabbinical lawyers, and a three-judge panel

of the eleven-member court.

        92.     Police in the Township of Lakewood, citing Order 107, broke up a prominent

rabbi’s funeral on April 2 and issued numerous summonses, as widely reported in the press.

        93.     Furthermore, the Lakewood Police have broken up more than a dozen forbidden

“gatherings” in Lakewood, some religious and some non-religious, as has also been widely

reported in the press, including a Jewish wedding.9/

        94.     Plaintiff Knopfler heard rumors that gatherings of ten-or-less are lawful under

Order 107, but he and his congregation cannot follow the norms of their religion under a regime

in which, pursuant to AO 2020-4, only ten people can gather for worship and a police officer

subjectively determines whether the gatherings in his synagogue are illegal because of “clear

evidence… to the contrary.”

                     Plaintiff Robinson’s Request for Confirmation of the
                          Extent of Order 107’s Ban on “Gatherings”

        95.     On April 23, 2020, counsel for plaintiff Robinson sent the Governor, the Attorney

General of New Jersey and the Acting Chief Counsel to the Governor a demand letter on behalf



9
 / See, http://tomsriver.shorebeat.com/2020/04/police-break-up-four-gatherings-in-lakewood-
including-an-open-school-and-backyard-wedding/


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of plaintiff in which he made the following inquiries, “Given what appears to be the official

interpretation of Order 107…”:

   1. Is Father Robinson required by Order 107 to close the church premises at 103
      Gould Avenue, North Caldwell, NJ?

   2. Are Father Robinson and the members of his congregation forbidden to gather, in
      any number, for Mass or other public functions not only at said church premises
      but anywhere else in the State of New Jersey?

   3. Are Father Robinson and those who might assist him subject to arrest and/or
      criminal prosecution if they gather for Mass or other public functions, in any
      number, at said church or elsewhere in the State of New Jersey?

See Exhibit G to this Complaint.

        96.    The demand letter requested a satisfactory response to these queries within five

(5) days, failing which plaintiff Robinson “will pursue legal remedies, including those available

under 42 U.S.C. § 1983.” No reply was received and this action was commenced on April 30,

2020.

                      Defendant Callahan’s Ambiguous “Clarification”
                            Respecting the Size of “Gatherings”

        97.    The day after this action was commenced, however, counsel for the Governor

took the position that an administrative order, AO 2020-4, issued March 21, 2020 by defendant

Callahan, provides that “gatherings of individuals” consisting of ten or fewer persons are

allowed. See Exhibit H to this Complaint.

        98.    However, AO 2020-4 does not provide blanket permission for gatherings of ten or

fewer people, but rather ambiguously states as follows:

         1. Pursuant to paragraph 5 of Executive Order No. 107 (2020), it is hereby
        clarified that gatherings of 10 persons or fewer are presumed to be in compliance
        with the terms and intentions of the Executive Order, unless clear evidence exists
        to the contrary. [emphasis added]

        99.    The term “clear evidence to the contrary” is not defined.

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       100.    AO 2020-4 is not a permission promulgated to the general public by the

Governor, but merely a law enforcement advisory issued from the Police Office of Emergency

Management by the Superintendent of State Police, defendant Callahan, acting also in his

capacity as State Director of Emergency Management.

       101.    AO 2020-4 is framed as advice to law enforcement officers that they are merely to

“presume” that gatherings of ten or fewer people are in compliance with “the terms and

intentions of the Executive Order” unless they determine in their unfettered discretion that “clear

evidence exists to the contrary”—with no definition whatever of the evidence in question.

       102.    Only as to non-business gatherings, including religious ones, does Order 107,

combined with AO 2020-04, subject people gathered together to a merely “presumptively”

lawful ten-person limit that can be deemed unlawful whenever a law enforcement official

subjectively decides otherwise.

                               The Promised “Corrections” of
                           the Governor’s Advice on “Gatherings”

       103.    Counsel for defendant advises that the above-noted answers to FAQs regarding

the meaning of Order 107, provided to the general public, are to be “corrected” by defendant

Murphy—more than a month after they were issued.

       104.    There is no indication yet that there will also be a correction of the aforesaid

Governor’s web page and form by which members of the general public can report alleged

violations of Order 107 by their fellow citizens based on “a gathering of people.”

       105.    There is no indication yet that defendant Murphy will definitively confirm to the

public via a further Executive Order that his prior published advice on “gatherings of

individuals” of any size was wrong and is rescinded, and that social, political or religious




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gatherings of ten persons or less are all permitted without rebuttable presumptions or conditions

not imposed on the business gatherings defendant Murphy has favored under Order 107.

                                  The Impact of AO 2020-4 on
                          Plaintiff Robinson’s Exercise of Religion 10/

       106.    AO 2020-4’s vague and ambiguous “presumed” allowance of gatherings of ten or

fewer people “unless clear evidence exists to the contrary” burdens plaintiff’s exercise of

religion by interfering with the normal requirements of Mass for the faithful.

       107.    AO 2020-04, and thus Order 107 itself, permits no more than 7 people at a time at

a Low Mass with two altar servers or 4 people at a time for a High Mass with five altar servers,

a number of congregants which, as pleaded above, would be completely insufficient to address

the needs of plaintiff Robinson’s congregation of approximately 50 people at each Mass on

Sunday or approximately 100 persons overall.

       108.    To comply with the ten-or-fewer dictate without compromising his religion,

plaintiff Robinson would have to offer an impossible 14 Low Masses or an even more

impossible 25 High Masses on a Sunday

       109.    Moreover, the servers at each Mass, who assist the priest throughout, must often

be closer to him and to each other than the “social distancing” minimum of six feet provided in

Order 107, ¶ 3, as must communicants when receiving Holy Communion, but no closer than

people frequently are in the retail or office environments.

       110.    Consequently, in the unfettered discretion of a law enforcement officer, the

offering of Mass by plaintiff, even under such oppressively limiting conditions, could constitute

“clear evidence” that the merely presumptive permission for “gatherings of 10 persons or fewer”



10
 / Cf. Exhibit A, Robinson Supp. Dec., for verification of the facts in this section of the
Amended Complaint.
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is unlawful, with the result that plaintiff could face criminal prosecution, arrest or other police

interference with his religious practice.

       111.    Accordingly, plaintiff continues to comply with Order 107 by not offering Mass

for the faithful or presiding over any other religious gathering anywhere in New Jersey.

                                   The Impact of AO 2020-4 on
                           Plaintiff Knopfler’s Exercise of Religion 11/

       112.    AO 2020-4’s vague and ambiguous “presumed” allowance of gatherings of ten or

fewer people “unless clear evidence exists to the contrary” burdens plaintiff Knopfler’s exercise

of religion by limiting his congregation to ten persons, when his congregation for each service is

greater than ten and other religious gatherings larger than ten, including weddings and Bar

Mitzvahs, would be prohibited.

       113.    Given the supposed limitation of religious gatherings to ten or fewer people, the

required quorum of ten men for all religious services would mean excluding the mother, sisters

and other family members at a Bar Mitzvah and even the wife at a wedding in the synagogue, as

well as any relatives and friends who would wish to be present.

       114.    A limitation of ten people or less substantially burdens the exercise of plaintiff

Knopfler’s Orthodox Jewish faith as head of a congregation.

       115.    Moreover, even that strictly limited group of ten or less would be at risk of being

declared “illegal” if a law enforcement officer decides that “there exists clear evidence to the

contrary,” such as the fact that Jewish worship requires a close gathering of four persons around

the Torah, which could be deemed an “illegal” failure to maintain “social distancing.”




11
 / Cf. Exhibit B, Knopfler Dec., for verification of the facts in this section of the Amended
Complaint.
                                                21
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                                        The Irrationality of
                                     the Ban on “Gatherings”

       116.    Religious gatherings in churches or synagogues, which can easily accommodate

“social distancing,” are comparatively small and discrete and manifestly pose far less of a risk of

viral transmission than the favored commercial gatherings, which involve:

        (a) innumerable close interpersonal exchanges of goods and services every day of the

       week;

       (b) crowds and massive foot traffic in the favored businesses as well as seated customers

       in airports, train and bus stations;

       (c) the touching of countless objects for sale and common surfaces, including keypads

       and touch screens, by potentially millions of people in the State of New Jersey;

       (d) the close proximity of innumerable seated employees in the confined spaces of

       innumerable offices, backrooms and warehouses of essential businesses, and

       (e) the totally unregulated physical presence of innumerable seated media employees in

       offices and studios, and gatherings of employees at the scenes of news coverage, in the

       course of mass media operations.

       117.    Plaintiffs are both willing to observe the same limitations Order 107 and Order

122 impose on permitted non-retail businesses such as law firms or media operations, or the

restrictions on being present in public, which amount to “social distancing” “whenever

practicable” (but not with immediate family members see Order 107 ¶ 3) and sanitization of

common surfaces. (Order 107, ¶ 5; Order 122, ¶ 5)

       118.    As pleaded above, plaintiff Robinson’s congregation for his two Sunday

Masses—a Low Mass and a High Mass—currently numbers around 50 congregants for each




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Mass, which is the same number of persons that was permitted for “gatherings” under

superseded Order 104.

          119.   The same 50-person limit, with social distancing measures, is now permitted

under Connecticut Governor Ned Lamont’s Executive Order No. 7N, which specifically exempts

religious gatherings from its limitation of other gatherings to no more than five people: “except

that religious, spiritual or worship gatherings shall not be subject to such increased restrictions,

and shall instead remain subject to the prohibition on gatherings of 50 or more people, provided

that they employ reasonable and appropriate distancing measures.”12/

          120.   The priestly organization of which plaintiff is a member is operating its church in

Connecticut under said protocol and plaintiff Robinson would do so in New Jersey, if there is to

be any limit at all on the size of his congregation, which there should not be, as “social

distancing” can be maintained when “practicable.

          121.   As for plaintiff Knopfler, his congregation of 30-45 fits easily within that 50-

person limit, if there is to be any limit at all, which there should not be, as “social distancing” can

be maintained when “practicable.

                             Defendant Murphy Indefinitely Extends
                                    His Ban on “Gatherings”

          122.   On April 7, 2020, Executive Order 119 extended the declared “Public Health

Emergency” indefinitely.

          123.   On April 15, 2020, defendant Murphy admitted on national television, respecting

his issuance of Order 107, that “I wasn’t thinking of the Bill of Rights when we did this.”13/



12
 /See,https://portal.ct.gov/-/media/Office-of-the-Governor/Executive-Orders/Lamont-Executive-
Orders/Executive-Order-No-7N.pdf?la=en.
13
     / See, https://www.foxnews.com/media/tucker-carlson-phil-murphy-bill-of-rights.
                                                  23
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        124.    On April 27, 2020, defendant Murphy announced the extension of Order 107, and

thus AO 2020-4, indefinitely.14/

        125.    There is no sign that defendant Murphy intends to relinquish his grip on the daily

life of anyone present in the State of New Jersey, including the plaintiffs, by any date certain.

        126.    Plaintiffs now seek declaratory, preliminary and final injunctive relief declaring

Order 107 and AO 2020-4 unconstitutional, both facially and as applied to them, and restraining

defendants accordingly.

                                             COUNT I

         Violation of the First and Fourteenth Amendments to the U.S. Constitution
                                  (Free Exercise of Religion)
                                       42 U.S.C. § 1983

        127.    Plaintiffs re-allege and incorporate by reference the factual allegations in ¶¶ 1-

125.

        128.    Plaintiffs’ sincerely held religious beliefs compel them to preside over religious

gatherings in keeping with the teachings and requirements of their respective religions.

        129.    The Free Exercise Clause of the First Amendment to the U.S. Constitution

protects plaintiffs’ religious activities.

        130.    Defendant’s interpretation and application of Order 107, as purportedly amended

by AO 2020-4 (hereafter “the challenged Regulation”), substantially burdens both plaintiffs’ free

exercise of religion by forbidding them to preside over any religious gathering in their respective

houses of worship or elsewhere in the State of New Jersey, save under arbitrarily oppressive

conditions that strictly limit the size of their congregations to ten or fewer people, but only under



14
  / See, “NJ stay-at-home order extended indefinitely as Murphy outlines path to reopening” @
https://www.pix11.com/news/coronavirus/gov-murphy-to-unveil-plan-to-responsibly-reopen-
new-jersey
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 a mere presumptive “permission” that can be revoked whenever a law enforcement officer, in his

 unfettered discretion, decides that “there exists clear evidence to the contrary.”

        131.      The challenged Regulation is impermissibly underinclusive because it is riddled

 with exceptions while purporting to be facially neutral, fails to prohibit secular activity that

 endangers the purported state interest equally or to a greater degree than the prohibited religious

 conduct, and burdens religious conduct while not affecting substantial categories of conduct that

 are not religiously motivated.

        132.      The challenged Regulation is therefore not a neutral law of general applicability

 and cannot be sustained unless it is narrowly tailored to serve a compelling state interest of the

 highest order.

        133.      The challenged Regulation is not rationally related to a compelling state interest,

 nor is it the least restrictive means of accomplishing the purported compelling state interest of

 “reducing the rate of community spread of COVID-19.”

        134.      The undefined term “gatherings of individuals” has no rational relation to the goal

 of “social distancing,” which can be accomplished even more readily in a church setting, where

 people can sit apart in the pews, than in a retail or office environment rife with direct

 interpersonal contacts and contact with common surfaces touched by innumerable other people:

 e.g., products for sale, shelves and counters, styluses for e-signatures, keypads, touch screens,

 public and office bathrooms, and innumerable other “fomites,” such as doorknobs, handrails, etc.

        135.      The challenged Regulation irrationally undermines the purported state interest by

 favoring numerous forms of business activity that pose a greater risk of viral transmission than

 the prohibited religious gatherings.




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           136.   Defendants have less restrictive means of achieving any legitimate interest served

 by the challenged Regulation, those being the same conditions on which they allow non-retail

 businesses, such as law and accounting firms, to operate: i.e., “social distancing” and

 sanitization.

           137.   The challenged Regulation includes an unconstitutionally vague standard for its

 enforcement, AO 2020-4, that has never been promulgated to the general public by the Governor

 and does not adequately inform the public or even law enforcement officers as to which

 “presumptively” lawful gatherings of ten or fewer people are rendered unlawful because of

 “clear evidence to the contrary.”

           138.   As the pleaded facts demonstrate, the challenged Regulation irrationally,

 invidiously, and without any legitimate, much less compelling, state purpose discriminates

 against religious activities in favor of secular and commercial activities.

           139.   Both facially and as applied to plaintiffs, the challenged Regulation violates the

 Free Exercise Clause of the First Amendment as made applicable to the States by the Fourteenth

 Amendment.

           140.   In the absence of declaratory and injunctive relief, plaintiffs will be irreparably

 harmed.

           141.   Plaintiffs have no adequate remedy at law for the violation of their constitutional

 rights.

                                              COUNT II

            Violation of the First and Fourteenth Amendments to the U.S. Constitution
             (Violation of Freedom of Speech, Assembly and Expressive Association)
                                          42 U.S.C. § 1983

           142.   Plaintiffs re-allege and incorporate by reference the allegations in ¶¶ 1-138.



                                                   26
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        143.     The First Amendment protects plaintiffs’ right to peaceably assemble together

 with the members of their congregations.

        144.     Plaintiffs’ religious assemblies are intertwined with speech and expressive

 association, meaning the right to associate with others of like mind for a protected purpose.

        145.     Because the undefined term “gatherings of individuals” employed in the

 challenged Regulation has no rational relationship to the goal of “limiting the spread” of

 COVID-19 by “social distancing,” which can be practiced more easily, or no less easily, in a

 church or synagogue than in many retail and office environments, the challenged Regulation

 (Order 107 and AO-2020-4 taken together) operates solely to discriminate arbitrarily against

 groups of people based on their social, political or religious purposes rather than any alleged lack

 of “social distancing.”

        146.     Defendants have less restrictive means of regulating gatherings for the stated

 purpose of “reducing the rate of community spread of COVID-19.”

        147.     The challenged Regulation does not serve any compelling or even significant

 government interest, and is not narrowly tailored to achieve any legitimate state purpose.

        148.     The challenged Regulation is also unconstitutionally vague as to the “clear

 evidence” that would overcome the purported presumptive permission for gatherings of ten or

 fewer people.

        149.     The challenged Regulation thus impermissibly infringes on freedom of speech,

 assembly and expressive association without serving any compelling or even significant

 government interest.

        150.     In the absence of declaratory and injunctive relief, plaintiffs will be irreparably

 harmed.



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           151.   Plaintiffs have no adequate remedy at law for the violation of their constitutional

 rights.

                                             COUNT III

                             Violation of the Fourteenth Amendment
                           (Equal Protection – Substantive Due Process)
                                         42 U.S.C. § 1983

           152.   Plaintiffs re-allege and incorporate by reference the allegations contained in ¶¶ 1-

 138.

           153.   The Equal Protection Clause of the Fourteenth Amendment to the United States

 Constitution guarantees equal protection of the laws, which requires that the State not treat the

 “suspect class” of religion differently from the class of similarly situated people or pass laws that

 burden First Amendment rights.

           154.   The challenged Regulation treats the class or subclass of people who exercise

 freedom of religion by gathering with others for that purpose, including plaintiffs, differently

 from the similarly situated class of people who gather with others for secular purposes.

           155.   Moreover, the class of those who gather for religious purposes in churches,

 chapels and synagogues is plainly less subject to the risk of infection or transmission than those

 engaged in commercial transactions involving crowded offices, large crowds every day of the

 week, physical exchanges, and common surfaces touched by potentially millions of people,

 which makes the suspect classification of the challenged Regulation even more irrational and

 invidious.

           156.   The challenged Regulation cannot survive the strict scrutiny required of suspect

 classifications under the substantive due process component of the Equal Protection Clause as it




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 is far from neutral and generally applicable and is not narrowly tailored to serve a compelling

 state interest.

           157.    The challenged Regulation, both facially and as applied, also violates plaintiffs’

 fundamental rights to freedom of speech, assembly and expressive association as alleged above.

           158.    Even if the challenged Regulation did not involve a suspect classification or

 violate fundamental rights, its total ban on religious gatherings, except under the dubious and

 unconstitutionally vague “permission” of its component administrative order, AO 2020-4, while

 permitting numerous secular and commercial gatherings unrestricted as to size, is not even

 rationally related to a legitimate state interest and thus cannot survive even rational basis analysis

 under the Equal Protection Clause.

           159.    Alternatively, the challenged Regulation cannot survive heightened scrutiny under

 the “hybrid-rights” theory the United States Supreme Court has recognized for purposes of Equal

 Protection analysis when, as here, multiple rights are violated by a purportedly neutral law.

           160.    The challenged Regulation thus violates the Equal Protection Clause of the

 Fourteenth Amendment to the United States Constitution, including its substantive component.

           161.    In the absence of declaratory and injunctive relief, plaintiffs will be irreparably

 harmed.

           162.    Plaintiffs have no adequate remedy at law for the violation of their constitutional

 rights.

                                                  COUNT IV

                             Violation of the First and Fourteenth Amendment
                                  Ultra Vires State Action Under the DCA
                                               42 U.S.C. § 1983




                                                   29
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           163.    Plaintiffs re-allege and incorporate by reference the allegations contained in ¶¶ 1-

 138 and 153-157 above.

           164.    The challenged Regulation is an ultra vires attempt to regulate every aspect of the

 daily lives of 9 million residents of the State of New Jersey: dictating for what reasons they may

 leave home; which businesses they may operate or patronize; which activities they may engage

 in and with whom they may engage in them; and banning every gathering of citizens the

 Governor deems “non-essential” and attempting to limit said gatherings to ten or fewer persons

 under a “presumed” permission that can be revoked whenever a law enforcement officer decides

 there is “clear evidence to the contrary.”

           165.    The DCA confers no such authority on the Governor. Under New Jersey law,

 executive orders under the DCA must have a rational relationship to the legislative goal of

 protecting the public and must be closely tailored to the scope of the current emergency situation.

           166.    The challenged Regulation is ultra vires the DCA and should be declared void

 and unenforceable, as it constitutes state action in violation of all the constitutional rights Order

 107 infringes, as pleaded above.

           167.    In the absence of declaratory and injunctive relief voiding and enjoining

 Defendant’s ultra vires acts, plaintiffs will be irreparably harmed.

           168.    Plaintiffs have no adequate remedy at law for the violation of their constitutional

 rights.

                                       PRAYER FOR RELIEF

           WHEREFORE, plaintiffs respectfully pray that this Court grant the following relief:

           A.      A temporary restraining order restraining defendants or their designates

                from enforcing the challenged Regulation of “gatherings of individuals”



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            (Order 107 and AO 2020-4 taken together) under any “social distancing”

            requirements different from those governing non-retail businesses such as law

            or accounting firms or media operations, or transportation hubs;

       B.      In the alternative, compelling defendants to apply to all gatherings,

            including religious gatherings, the same 50-person limitation in prior

            Executive Order 104 with the “social distancing” protocol of Order 107;

       C.      A preliminary and permanent Injunction so restraining defendants;

       D.      A declaratory judgment that the challenged Regulation is wholly

            unconstitutional, both facially and as applied to plaintiffs;

       E.      An award of costs of this litigation, including reasonable attorneys’ fees,

            pursuant to 42 U.S.C. § 1988; and

       F.      Such other and further relief as this Court deems just and proper.

 Dated: May 4, 2020

                                               Respectfully submitted,




                                         ________________________________
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                                              cferrara@thomasmoresociety.org
                                              Counsel for Plaintiffs




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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW JERSEY
                                  (Newark Division)


 REV. KEVIN ROBINSON and                  )
                                          )
 RABBI YISRAEL A. KNOPFLER,               )
                                          )
                          Plaintiffs,     )         Case No. 2:20-CV-5420-CCC-ESK
 v.                                       )
                                          )
 PHIL MURPHY, Governor of the             )
 State of New Jersey, in his              )
 official capacity, and                   )
                                          )
                                                            EXHIBIT A
 COLONEL PATRICK J. CALLAHAN, )
 Superintendent of State Police and State )
 Director of Emergency Management,        )
 in his official capacities,              )
                                          )
                          Defendants.     )


                        UNSWORN SUPPLEMENTAL DECLARTION
                         OF PLAINTIFF REV. KEVIN ROBINSON
                            UNDER PENALTY OF PERJURY

        Pursuant to 28 U.S.C. § 1746, Plaintiff, Rev. Kevin Robinson, hereby declares under

 penalty of perjury as follows:

        1.      I am a plaintiff in this matter, and I make this Supplemental Declaration in

 support of my counsel’s motion for a preliminary injunction.

        2.      By way of clarifying my prior declaration, I have a congregation of approximately

 fifty people at each Mass on Sunday: the first, a 7:30 a.m. Low Mass and then a High Mass at 10

 a.m.

        3.      The Low Mass normally requires, in addition to the priest, two altar servers.

 Thus, any limitation of religious gatherings to ten or fewer people—merely “presumed” to be
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 lawful unless a police officer decides there is “clear evidence” to the contrary—would mean that

 only 7 congregants could attend Mass, which is totally impractical as we cannot have 14 Low

 Masses a day to accommodate a total of 100 people.

         4.     Even worse would be the situation at High Mass, which requires five altar servers:

 an MC, a Thurifer, a Cross-Bearer and two acolytes, which would leave a congregation of only 4

 people, requiring 25 Masses a day to accommodate 100 congregants if every Mass were a High

 Mass.

         5.     I understand that a later Executive Order, No. 122, imposes some new limitations

 on “essential retail businesses” such as operating at 50% capacity at any one time, which is still a

 very large number of people, and the wearing of masks by customers.

         6.     It is not possible to celebrate Mass wearing a mask, but I am informed that there

 is no mask requirement for permitted non-retail businesses, such as law firms, under Order 107

 or 122, but only “social distancing” of six feet when “practicable” and sanitization of common

 surfaces by building owners, which my priestly fraternity is already doing in Connecticut, as

 noted in my prior declaration.

         7.     I would abide by such requirements in New Jersey or, as noted in my prior

 declaration, such requirements combined with the 50-person limit on gatherings under Executive

 Order 104.

         8.     I declare under penalty of perjury that the foregoing is true and correct.

 Executed on May 4, 2020

                                                       ________________________________
                                                       Rev. Kevin Robinson




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                                              EXHIBIT B
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EXHIBIT C
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EXHIBIT D
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EXHIBIT F
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                                                    EXHIBIT G
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                                                    EXHIBIT G
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EXHIBIT H
     STATE OF NEW JERSEY DEPARTMENT OF LAW AND PUBLIC SAFETY DIVISION OF NEW JERSEY STATE
                           POLICE OFFICE OF EMERGENCY MANAGEMENT

                                           ADMINISTRATIVE ORDER

                                                 GATHERINGS

                                                  No. 2020-4

  WHEREAS, on March 9, 2020, through Executive Order No. 103, the facts and circumstances of which
  are adopted by reference herein, the Governor declared both a Public Health Emergency and a State of
  Emergency throughout the State due to the public health hazard posed by Coronavirus disease 2019
  (COVID-19); and

  WHEREAS, to further protect the health, safety, and welfare of New Jersey residents by, among other
  things, reducing the rate of community spread of COVID-19, the Governor issued Executive Order No.
  107 (2020) on March 21, 2020, the facts and circumstances of which are also adopted by reference
  herein, which established enhanced social mitigation strategies for combatting COVID-19; and

  WHEREAS, Executive Order No. 107 cancelled gatherings of individuals, such as parties, celebrations, or
  other social events, unless otherwise authorized by Executive Order No. 107; and

  WHEREAS, pursuant to paragraph 5 of Executive Order No. 107 (2020), the Governor granted the State
  Director of Emergency Management, who is the

  Superintendent of State Police, the discretion to make clarifications and issue orders

  related to the provisions regarding the gatherings of individuals;

  NOW, THEREFORE, I, Patrick J. Callahan, State Director of Emergency Management, hereby ORDER as
  follows:

  1.      Pursuant to paragraph 5 of Executive Order No. 107 (2020), it is hereby clarified that gatherings
  of 10 persons or fewer are presumed to be in compliance with the terms and intentions of the Executive
  Order, unless clear evidence exists to the contrary.

  2.      This ORDER shall take effect concurrently with the effective date and time of Executive Order
  No. 107 (2020), which is Saturday, March 21, 2020 at 9:00 p.m., and shall remain in effect for as long as
  Executive Order No. 107 (2020) remains in effect or until I issue a subsequent amending Administrative
  Order.

  March 21, 2020

  Colonel Patrick J. Callahan

  State Director of Emergency Management
